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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

    CommScope, Inc.; CommScope, Inc. )
                                         Civil Action No. 19-cv-15962-
    of North Carolina; and CommScope )
                                         JXN-LDW
    Technologies LLC,                  )
                                       )
                 Plaintiffs,           )
                                       )
    v.                                 )
                                       )
    Rosenberger Technology (Kunshan) )
    Co. Ltd., Rosenberger Asia Pacific )
    Electronic Co., Ltd., Rosenberger  )
    Technology LLC, Rosenberger USA )
    Corp., Rosenberger North America   )
    Pennsauken, Inc., Rosenberger Site )
    Solutions, LLC, Rosenberger        )
    Hochfrequenztechnik GmbH & Co. )
    KG, Northwest Instrument, Inc.,    )
    CellMax Technologies AB, Janet     )
    Javier, and Robert Cameron,        )
                                       )
                 Defendants.           )
                                       )
     _____________________________ )

                ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT
                Defendant Rosenberger North America Pennsauken, Inc. (“Rosenberger

  Pennsauken”), by and through its undersigned attorneys, hereby answers Plaintiffs’

  Second Amended Complaint (the “Second Amended Complaint”) as follows:

                1.   Rosenberger Pennsauken denies the allegations set forth in Paragraph

  1.




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        2.     Rosenberger Pennsauken denies the allegations set forth in the first and

  third sentence of Paragraph 2, except admits that certain Rosenberger entities

  develop, manufacture, and/or sell telecommunications equipment, including BSAs.

  Rosenberger Pennsauken lacks knowledge or information sufficient to form a belief

  as to the truth of the allegations set forth in the second sentence of Paragraph 2, and,

  on that basis, denies the allegations.

        3.     Rosenberger Pennsauken denies the allegations set forth in Paragraph

  3.

        4.     Rosenberger Pennsauken denies the allegations set forth in Paragraph

  4.

        5.     Rosenberger Pennsauken denies the allegations set forth in Paragraph

  5.

        6.     Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in the second sentence in

  Paragraph 6, and, on that basis, denies the allegations. Rosenberger Pennsauken

  denies the allegations set forth in the remainder of Paragraph 6.

        7.     Rosenberger Pennsauken denies the allegations set forth in Paragraph

  7.

        8.     Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in the first sentence of



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  Paragraph 8 with respect to CommScope’s intentions, and, on that basis, denies the

  allegations.    Rosenberger Pennsauken denies the allegations set forth in the

  remainder of Paragraph 8.

        9.       Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 9, and, on that

  basis, denies the allegations.

        10.      Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 10, and, on that

  basis, denies the allegations.

        11.      Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 11, and, on that

  basis, denies the allegations.

        12.      Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 12, and, on that

  basis, denies the allegations.

        13.      Rosenberger Pennsauken denies the allegations set forth in Paragraph

  13, except admits that certain policies are effective at various entities, and

  respectfully refers the Court to the entirety of the referenced documents for their

  complete and accurate contents.




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         14.   Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 14, and, on that

  basis, denies the allegations.

         15.   Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 15, and, on that

  basis, denies the allegations.

         16.   Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 16, and, on that

  basis, denies the allegations.

         17.   Rosenberger Pennsauken admits that it is a subsidiary of Rosenberger

  USA.     Rosenberger Pennsauken otherwise lacks knowledge or information

  sufficient to form a belief as to the truth of the allegations set forth in Paragraph 17,

  and, on that basis, denies the allegations.

         18.   Rosenberger Pennsauken admits the allegations set forth in the first and

  second sentences of Paragraph 18. Rosenberger Pennsauken admits that it is

  engaged in precision manufacturing, but otherwise denies the allegations set forth in

  the remainder of Paragraph 18 and respectfully refers the Court to the entirety of the

  referenced documents for their complete and accurate contents.




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        19.    Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 19, and, on that

  basis, denies the allegations.

        20.    Rosenberger Pennsauken admits that it is a private, nonpublic entity

  and that Rosenberger Germany is its ultimate parent. Rosenberger Pennsauken

  otherwise lacks knowledge or information sufficient to form a belief as to the truth

  of the remainder of the allegations set forth in Paragraph 20, and, on that basis,

  denies the allegations.

        21.    Rosenberger Pennsauken denies the allegations set forth in the fourth

  sentence of Paragraph 21. Rosenberger Pennsauken otherwise lacks knowledge or

  information sufficient to form a belief as to the truth of the remainder of the

  allegations set forth in Paragraph 21, and, on that basis, denies the allegations.

  Rosenberger Pennsauken respectfully refers the Court to the entirety of the

  referenced documents for their complete and accurate contents.

        22.    Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in the first, second, and third

  sentences of Paragraph 22, and, on that basis, denies the allegations. Rosenberger

  Pennsauken denies the allegations set forth in the fourth sentence of Paragraph 22.




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        23.    Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 23, and, on that

  basis, denies the allegations.

        24.    Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 24, and, on that

  basis, denies the allegations.

        25.    Paragraph 25 states legal conclusions to which no response is required.

        26.    Paragraph 26 states legal conclusions to which no response is required.

        27.    Paragraph 27 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Pennsauken admits that it is

  organized under the laws of the state of New Jersey, has its principal place of

  business in New Jersey, and is subject to personal jurisdiction in this Court.

  Rosenberger Pennsauken denies the allegations set forth in the second sentence of

  Paragraph 27. Rosenberger Pennsauken otherwise lacks knowledge or information

  sufficient to form a belief as to the truth of the allegations set forth in the remainder

  of Paragraph 27, and, on that basis, denies the allegations.

        28.    Paragraph 28 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 28, and, on that basis, denies the allegations.



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        29.    Paragraph 29 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Pennsauken denies the allegations

  set forth in the first sentence of Paragraph 29. Rosenberger Pennsauken lacks

  knowledge or information sufficient to form a belief as to the truth of the allegations

  set forth in the remainder of Paragraph 29, and, on that basis, denies the allegations.

        30.    Paragraph 30 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Pennsauken denies the allegations

  set forth in Paragraph 30.

        31.    Paragraph 31 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Pennsauken denies the allegations

  set forth in the first sentence of Paragraph 31. Rosenberger Pennsauken lacks

  knowledge or information sufficient to form a belief as to the truth of the allegations

  set forth in the remainder of Paragraph 31, and, on that basis, denies the allegations.

        32.    Paragraph 32 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Pennsauken denies the allegations

  set forth in Paragraph 32. Rosenberger Pennsauken respectfully refers the Court to

  the entirety of the referenced documents for their complete and accurate contents.

        33.    Paragraph 33 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Pennsauken lacks knowledge or




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  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 33, and, on that basis, denies the allegations.

        34.    Paragraph 34 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 34, and, on that basis, denies the allegations.

        35.    Paragraph 35 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 35, and, on that basis, denies the allegations.

        36.    Paragraph 36 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 36, and, on that basis, denies the allegations.

        37.    Paragraph 37 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 37, and, on that basis, denies the allegations.




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        38.    Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 38, and, on that

  basis, denies the allegations.

        39.    Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 39, and, on that

  basis, denies the allegations.

        40.    Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 40, and, on that

  basis, denies the allegations.

        41.    Rosenberger Pennsauken denies that AAAP and PSOAA are “trade

  secret software programs” and otherwise lacks knowledge or information sufficient

  to state a belief as to the truth of the allegations set forth in Paragraph 41, and, on

  that basis, denies the allegations.

        42.    Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 42, and, on that

  basis, denies the allegations.

        43.    Rosenberger Pennsauken lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 43, and, on that

  basis, denies the allegations.




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         44.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 44, and, on that

   basis, denies the allegations.

         45.    Rosenberger Pennsauken denies that the referenced software programs

   are “trade secret software programs” and otherwise lacks knowledge or information

   sufficient to state a belief as to the truth of the allegations set forth in Paragraph 45,

   and, on that basis, denies the allegations.

         46.    Rosenberger Pennsauken denies that Andrew Antenna Format is a

   “trade secret format” and that the other referenced software tools are trade secrets.

   Rosenberger Pennsauken otherwise lacks knowledge or information sufficient to

   state a belief as to the truth of the allegations set forth in Paragraph 46, and, on that

   basis, denies the allegations.

         47.    Rosenberger Pennsauken denies that the referenced design, methods,

   and software programs are trade secrets, and otherwise lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   the remainder of Paragraph 47, and, on that basis, denies the allegations.

         48.    Rosenberger Pennsauken denies the allegations set forth in the first

   sentence of Paragraph 48. Rosenberger Pennsauken lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in the remainder

   of Paragraph 48, and, on that basis, denies the allegations.



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         49.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   49.

         50.    Rosenberger Pennsauken denies that the referenced software programs

   are trade secrets.     Rosenberger Pennsauken otherwise lacks knowledge or

   information sufficient to state a belief as to the truth of the allegations set forth in

   the remainder of Paragraph 50, and, on that basis, denies the allegations.

         51.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   51.

         52.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   52.

         53.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the last sentence of

   Paragraph 53, and, on that basis, denies the allegations. Rosenberger Pennsauken

   denies the allegations set forth in the remainder of Paragraph 53.

         54.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   54.

         55.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 55, and, on that

   basis, denies the allegations.




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          56.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   56.

          57.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the second, third, and fourth

   sentences of Paragraph 57, and, on that basis, denies the allegations. Rosenberger

   Pennsauken denies the allegations set forth in the remainder of Paragraph 57, and

   respectfully refers the Court to the referenced documents for their complete and

   accurate contents.

          58.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   58.

         59.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   59.

         60.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   60.

         61.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   61.

         62.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   62.

         63.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   63.



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         64.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   64.

         65.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   65.

         66.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   66, except admits that CommScope makes Antenna Pattern Viewer publicly

   available.

         67.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   67.

         68.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   68.

         69.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   69.

         70.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   70.

         71.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   71.

         72.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   72.




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          73.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   73.

          74.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   74.

          75.   Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the third and fourth sentence

   of Paragraph 75, and, on that basis, denies the allegations. Rosenberger Pennsauken

   denies the allegations set forth in the remainder of Paragraph 75.

         76.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   76.

         77.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   77.

         78.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   78, and respectfully refers the Court to the entirety of the referenced presentation for

   its complete and accurate contents.

         79.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   79, and respectfully refers the Court to the entirety of the referenced presentation for

   its complete and accurate contents.




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         80.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   80, and respectfully refers the Court to the entirety of the referenced presentation for

   its complete and accurate contents.

         81.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 81, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the entirety of the referenced presentation for its complete and accurate contents.

         82.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 82, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the entirety of the referenced presentation for its complete and accurate contents.

         83.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 83, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the entirety of the referenced presentation for its complete and accurate contents.

         84.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 84 concerning

   the contents of CommScope’s source code, and, on that basis, denies the allegations.

   Rosenberger Pennsauken otherwise denies the allegations set forth in the remainder

   of Paragraph 84.



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         85.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   85.

         86.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 86, and, on that

   basis, denies the allegations, and respectfully refers the Court to the referenced

   presentation for its complete and accurate contents.

         87.    Rosenberger Pennsauken denies that CommScope software was

   “stolen” and otherwise lacks knowledge or information sufficient to form a belief as

   to the truth of the allegations set forth in Paragraph 87, and, on that basis, denies the

   allegations. Rosenberger Pennsauken respectfully refers the Court to the entirety of

   the referenced presentations for their complete and accurate contents.

         88.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 88 concerning

   CommScope’s source code, and, on that basis, denies the allegations. Rosenberger

   Pennsauken otherwise denies the allegations set forth in Paragraph 88, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         89.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 89, and, on that

   basis, denies the allegations.



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         90.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   90.

         91.    Rosenberger Pennsauken denies that CommScope software was

   “stolen” and otherwise lacks knowledge or information sufficient to form a belief as

   to the truth of the allegations set forth in Paragraph 91, and, on that basis, denies the

   allegations. Rosenberger Pennsauken respectfully refers the Court to the entirety of

   the referenced presentations for their complete and accurate contents.

         92.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations in Paragraph 92 concerning AT&T’s

   “typical[]” practices, and, on that basis, denies the allegations.         Rosenberger

   Pennsauken denies the allegations set forth in the remainder of Paragraph 92.

         93.    Rosenberger Pennsauken denies that software was “stolen” and

   otherwise lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations set forth in Paragraph 93, and, on that basis, denies the allegations.

   Rosenberger Pennsauken respectfully refers the Court to the entirety of the

   referenced documents for their complete and accurate contents.

         94.    Rosenberger Pennsauken denies the allegations set forth in Paragraph

   94, and respectfully refers the Court to the entirety of the referenced presentation for

   its complete and accurate contents.




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         95.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 95, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the entirety of the referenced presentations for their complete and accurate

   contents.

         96.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 96, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the entirety of the referenced presentations for their complete and accurate

   contents.

         97.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 97, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the entirety of the referenced document for its complete and accurate contents.

         98.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 98, and, on that

   basis, denies the allegations.

         99.    Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 99, and, on that

   basis, denies the allegations.



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          100. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   100.

          101. Rosenberger Pennsauken denies the allegations set forth in the first

   sentence of Paragraph 101 concerning “misappropriation of the Simulation

   Software,” the fourth sentence describing PSOAA as “a CommScope proprietary

   program that only CommScope’s employees can access,” and the allegations set

   forth in the last sentence of Paragraph 101. Rosenberger Pennsauken otherwise

   lacks knowledge or information sufficient to form a belief as to the truth of the

   allegations set forth in the remainder of Paragraph 101, and, on that basis, denies the

   allegations.

          102. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   102.

          103. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 103, and, on that

   basis, denies the allegations.

          104. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 104, and, on that

   basis, denies the allegations.




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          105. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 105, and, on that

   basis, denies the allegations.

          106. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   106.

          107. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   107.

          108. Paragraph 108 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken denies the allegations

   set forth in Paragraph 108.

          109. Paragraph 109 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken denies the allegations

   set forth in Paragraph 109.

          110. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   110.

          111. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   111.

          112. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   112, and respectfully refers the Court to the referenced website for its complete and

   accurate contents.



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         113. Rosenberger Pennsauken admits that it is a subsidiary of Rosenberger

   USA and otherwise denies the allegations set forth in Paragraph 113. Rosenberger

   Pennsauken respectfully refers the Court to the referenced documents and website

   for their complete and accurate contents.

         114. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 114, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the referenced document for its complete and accurate contents.

         115. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 115, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the referenced document for its complete and accurate contents.

         116. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 116, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the referenced document for its complete and accurate contents.

         117. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 117, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the referenced agreement for its complete and accurate contents.



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          118. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   118, and respectfully refers the Court to the referenced documents for their complete

   and accurate contents.

          119. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   119.

          120. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 120, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the referenced documents for their complete and accurate contents.

          121. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 121, and, on that

   basis, denies the allegations.

          122. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 122, and, on that

   basis, denies the allegations.

          123. Paragraph 123 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 123, and, on that basis, denies the allegations. Rosenberger Pennsauken




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   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         124. Paragraph 124 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 124, and, on that basis, denies the allegations. Rosenberger Pennsauken

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         125. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 125, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the entirety of the referenced agreement for its complete and accurate contents.

         126. Paragraph 126 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 126, and, on that basis, denies the allegations.

         127. Paragraph 127 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 127, and, on that basis, denies the allegations.



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         128. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 128, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the entirety of the referenced agreement for its complete and accurate contents.

         129. Paragraph 129 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 129, and, on that basis, denies the allegations. Rosenberger Pennsauken

   respectfully refers the Court to the entirety of the referenced agreement for its

   complete and accurate contents.

         130. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 130, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the entirety of the referenced agreement for its complete and accurate contents.

         131. Paragraph 131 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 131, and, on that basis, denies the allegations. Rosenberger Pennsauken

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.



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         132. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 132, and, on that

   basis, denies the allegations.

         133. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 133, and, on that

   basis, denies the allegations.

         134. Paragraph 134 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 134, and, on that basis, denies the allegations. Rosenberger Pennsauken

   respectfully refers the Court to the referenced statement for its complete and accurate

   contents.

         135. Paragraph 135 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 135, and, on that basis, denies the allegations. Rosenberger Pennsauken

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.




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         136. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 136, and, on that

   basis, denies the allegations.

         137. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 137, and, on that

   basis, denies the allegations.

         138. Paragraph 138 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 138, and, on that basis, denies the allegations. Rosenberger Pennsauken

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         139. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 139, and, on that

   basis, denies the allegations.

         140. Paragraph 140 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 140, and, on that basis, denies the allegations.




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         141. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 141, and, on that

   basis, denies the allegations.

         142. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the fourth sentence in

   Paragraph 142, and, on that basis, denies the allegations. Rosenberger Pennsauken

   denies the allegations set forth in the remainder of Paragraph 142. Rosenberger

   Pennsauken respectfully refers the Court to the referenced documents for their

   complete and accurate contents.

         143. Rosenberger Pennsauken denies the allegations set forth in the last

   sentence of Paragraph 143. Rosenberger Pennsauken otherwise lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   the remainder of Paragraph 143, and, on that basis, denies the allegations.

         144. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 144, and, on that

   basis, denies the allegations.

         145. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 145, and, on that

   basis, denies the allegations.




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          146. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 146, and, on that

   basis, denies the allegations.

          147. Rosenberger Pennsauken denies the allegations set forth in the first

   sentence of Paragraph 147, and lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in the remainder of Paragraph 147,

   and, on that basis, denies the allegations.

          148. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the first and second

   sentences of Paragraph 148, and, on that basis, denies the allegations. Rosenberger

   Pennsauken denies the allegations set forth in the third sentence of Paragraph 148.

          149. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the first and second

   sentences of Paragraph 149, and, on that basis, denies the allegations. Rosenberger

   Pennsauken denies the allegations set forth in the third sentence of Paragraph 149.

          150. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   150.

          151. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   151.




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          152. Rosenberger Pennsauken denies the allegations set forth in the first

   sentence of Paragraph 152.          Rosenberger Pennsauken lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   the remainder of Paragraph 152, and, on that basis, denies the allegations.

   Rosenberger Pennsauken respectfully refers the Court to the referenced document

   for its complete and accurate contents.

          153. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   153.

          154. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   154.

          155. Paragraph 155 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 155, and, on that basis, denies the allegations.

          156. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 156, and, on that

   basis, denies the allegations.

          157. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 157, and, on that

   basis, denies the allegations.



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         158. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 158, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the entirety of the referenced document for its complete and accurate contents.

         159. Rosenberger Pennsauken denies that Dkt. No. 6 applies to CellMax

   Technologies AB or to Northwest Instrument, Inc., and respectfully refers the Court

   to the referenced document for its complete and accurate contents.

         160. Rosenberger Pennsauken denies that Dkt. No. 6 applies to CellMax

   Technologies AB or to Northwest Instrument, Inc., and respectfully refers the Court

   to the referenced document for its complete and accurate contents.

         161. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   161, except admits that it received a copy of Dkt. No. 6 when the ex parte seizure

   was executed at its facility on August 27, 2019.

         162. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 162, and, on that

   basis, denies the allegations.

         163. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 163, and, on that

   basis, denies the allegations.




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         164. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 164, and, on that

   basis, denies the allegations.

         165. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 165, and, on that

   basis, denies the allegations.

         166. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 166, and, on that

   basis, denies the allegations.

         167. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 167, and, on that

   basis, denies the allegations.

         168. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 168, and, on that

   basis, denies the allegations.

         169. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 169, and, on that

   basis, denies the allegations.




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          170. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 170, and, on that

   basis, denies the allegations.

          171. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   171.

          172. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   172.

          173. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 173, and, on that

   basis, denies the allegations.

          174. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   174.

          175. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   175.

          176. Rosenberger Pennsauken incorporates by reference its responses to the

   foregoing allegations.

          177. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   177.

          178. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   178.



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          179. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   179.

          180. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   180.

          181. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   181.

          182. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   182.

          183. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   183.

          184. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   184.

          185. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   185.

          186. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   186.

          187. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   187.

          188. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   188.



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          189. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   189.

          190. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   190.

          191. Rosenberger Pennsauken incorporates by reference its responses to the

   foregoing allegations.

          192. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   192.

          193. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   193.

          194. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   194.

          195. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   195.

          196. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   196.

          197. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   197.

          198. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   198.



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          199. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   199.

          200. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   200.

          201. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   201.

          202. Rosenberger Pennsauken incorporates by reference its responses to the

   foregoing allegations.

          203. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   203.

          204. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   204.

          205. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   205.

          206. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   206.

          207. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   207.

          208. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   208.



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          209. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   209.

          210. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   210.

          211. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   211.

          212. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   212.

          213. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   213.

          214. Rosenberger Pennsauken incorporates by reference its responses to the

   foregoing allegations.

          215. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 215, and, on that

   basis, denies the allegations.

          216. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   216.

          217. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   217.




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          218. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   218.

          219. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   219.

          220. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   220.

          221. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   221.

          222. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   222.

          223. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   223.

          224. Rosenberger Pennsauken incorporates by reference its responses to the

   foregoing allegations.

          225. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 225, and, on that

   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the referenced document for its complete and accurate contents

          226. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 226, and, on that



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   basis, denies the allegations. Rosenberger Pennsauken respectfully refers the Court

   to the referenced document for its complete and accurate contents

         227. Paragraph 227 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 227, and, on that basis, denies the allegations.

         228. Paragraph 228 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 228, and, on that basis, denies the allegations.

         229. Paragraph 229 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 229, and, on that basis, denies the allegations.

         230. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 230, and, on that

   basis, denies the allegations.

         231. Paragraph 231 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken denies the

   allegations set forth in Paragraph 231.



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          232. Paragraph 232 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken denies the

   allegations set forth in Paragraph 232.

          233. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 233, and, on that

   basis, denies the allegations.

          234. Paragraph 234 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken denies the

   allegations set forth in Paragraph 234.

          235. Paragraph 235 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken denies the

   allegations set forth in Paragraph 235.

          236. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   236.

          237. Paragraph 237 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken denies the

   allegations set forth in Paragraph 237.

          238. Paragraph 238 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken respectfully




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   refers the Court to the entirety of the referenced agreements for their complete and

   accurate contents.

         239. Rosenberger Pennsauken incorporates by reference its responses to the

   foregoing allegations.

         240. Paragraph 240 states legal conclusions to which no response is required.

   To the extent a response is required. Rosenberger Pennsauken denies the allegations

   set forth in Paragraph 240.

         241. Paragraph 241 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken denies the

   allegations set forth in Paragraph 241.

         242. Paragraph 242 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken denies the

   allegations set forth in Paragraph 242.

         243. Paragraph 243 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Pennsauken lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   the first sentence of Paragraph 243, and, on that basis, denies the allegations.

   Rosenberger Pennsauken denies the remainder of the allegations set forth in

   Paragraph 243.




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          244. Paragraph 244 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 244, and, on that basis, denies the allegations.

          245. Paragraph 245 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 245, and, on that basis, denies the allegations.

          246. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   246.

          247. Rosenberger Pennsauken incorporates by reference its responses to the

   foregoing allegations.

          248. Rosenberger Pennsauken admits that it is not a party to the Agreements

   referenced in Paragraph 248 and respectfully refers the Court to the referenced

   agreements for their complete and accurate contents.

          249. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 249, and, on that

   basis, denies the allegations.

          250. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   250.



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          251. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 251, and, on that

   basis, denies the allegations.

          252. Paragraph 252 states legal conclusions to which no response is required.

   To the extent a response is required. Rosenberger Pennsauken denies the allegations

   set forth in Paragraph 252.

          253. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   253.

          254. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 254, and, on that

   basis, denies the allegations.

          255. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   255.

          256. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   256.

          257. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   257.

          258. Rosenberger Pennsauken lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the first sentence and the

   first clause of the second sentence of Paragraph 258, and, on that basis, denies the



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   allegations.   Rosenberger Pennsauken denies the allegations set forth in the

   remainder of Paragraph 258.

          259. Paragraph 259 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 259, and, on that basis, denies the allegations.

          260. Paragraph 260 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 260, and, on that basis, denies the allegations.

          261. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   261.

          262. Rosenberger Pennsauken incorporates by reference its responses to the

   foregoing allegations.

          263. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   263.

          264. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   264.

          265. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   265.



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          266. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   266.

          267. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   267.

          268. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   268.

          269. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   269.

          270. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   270.

          271. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   271.

          272. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   272.

          273. Rosenberger Pennsauken incorporates by reference its responses to the

   foregoing allegations.

          274. Paragraph 274 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken denies the

   allegations set forth in Paragraph 274.




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          275. Rosenberger Pennsauken denies the allegations set forth in the first two

   sentences of Paragraph 275. Rosenberger Pennsauken admits that Rosenberger Site

   Solutions makes certain decisions independently of other entities named as

   defendants, but otherwise lacks knowledge or information sufficient to form a belief

   as to the truth of the allegations set forth in the remainder of the last sentence of

   Paragraph 275, and, on that basis, denies the allegations.

          276. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   276.

          277. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   277.

          278. Rosenberger Pennsauken incorporates by reference its responses to the

   foregoing allegations.

          279. Paragraph 279 states a legal conclusion to which no response is

   required.

          280. Paragraph 280 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Pennsauken denies the

   allegations set forth in Paragraph 280.

          281. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   281.




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          282. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   282.

          283. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   283.

          284. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   284.

          285. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   285.

          286. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   286.

          287. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   287.

          288. Rosenberger Pennsauken denies the allegations set forth in Paragraph

   288.

                            AFFIRMATIVE DEFENSES

          289. By alleging the Affirmative Defenses set forth below, Rosenberger

   Pennsauken intends no alteration of the burden of proof and/or burden of going

   forward with evidence which otherwise exists with respect to any particular issues

   at law or in equity. Furthermore, all such defenses are pleaded in the alternative,




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   and do not constitute an admission of liability or that Plaintiffs are entitled to any

   relief whatsoever.

                                 First Affirmative Defense

         290. Plaintiffs’ claims are barred in whole or in part because the Second

   Amended Complaint fails to state a claim upon which relief can be granted.

                                Second Affirmative Defense

         291. Plaintiffs’ claims are barred in whole or in part by the applicable

   statutes of limitations, laches, and the statute of repose.

                                 Third Affirmative Defense

         292. Plaintiffs’ claims are barred in whole or in part by the doctrines of

   laches, waiver, consent, release, estoppel, unclean hands, and/or ratification.

                                Fourth Affirmative Defense

         293. Plaintiffs’ claims are barred in whole or in part by the doctrine of

   equitable estoppel.

                                 Fifth Affirmative Defense

         294. Plaintiffs’ claims are barred because Plaintiffs have failed to show that

   what they allege to be trade secrets are actually trade secrets under the law.

                                 Sixth Affirmative Defense

         295. Plaintiffs’ claims are barred because, to the extent any form of trade

   secrets exists, Plaintiffs have not shown that Plaintiffs are the owners of the alleged

   trade secrets.

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                              Seventh Affirmative Defense

         296. Plaintiffs’ claims are barred because Plaintiffs have failed to identify

   the specific trade secrets allegedly misappropriated and used by Defendants.

                               Eighth Affirmative Defense

         297. Plaintiffs’ claims are barred because the alleged trade secrets are either

   generally known or readily ascertainable by proper means, were not valuable

   business information, or were not the subject of efforts that were reasonable under

   the circumstances to maintain their secrecy.

                               Ninth Affirmative Defense

         298. Plaintiffs’ claims are barred because Plaintiffs failed to take reasonable

   steps to maintain and safeguard the secrecy of any information claimed in this action

   to be a trade secret.

                               Tenth Affirmative Defense

         299. Plaintiffs’ claims are barred because they have not suffered any losses

   or damages proximately caused by the conduct of Defendants alleged in the Second

   Amended Complaint.

                              Eleventh Affirmative Defense
         300. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because Plaintiffs’ alleged trade secrets have been disclosed publicly or were

   generally known.



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                               Twelfth Affirmative Defense

         301. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because the technology and processes used to make the accused products were

   independently developed.

                              Thirteenth Affirmative Defense

         302. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because, to the extent Rosenberger acquired any alleged trade secret, it did so in a

   lawful manner.

                              Fourteenth Affirmative Defense

         303. Plaintiffs’ claims are barred in whole or in part because Plaintiffs have

   failed to mitigate any damages they may have suffered.

                              Fifteenth Affirmative Defense

         304. Plaintiffs’ claims are barred in whole or in part because they cannot

   demonstrate that Defendants acted with the requisite intent.

                              Sixteenth Affirmative Defense

         305. Plaintiffs’ claims for misappropriation of trade secrets fail, in whole or

   in part, on the grounds that the alleged trade secrets or other confidential and

   proprietary information for which Plaintiffs claim they are entitled to the relief

   sought are not trade secrets because Plaintiffs cannot meet their burden to show that

   the information derives independent economic value, actual or potential, from not



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   being generally known to, and not being readily ascertainable through proper means

   by, another person who can obtain economic value from the disclosure or use of the

   information.

                            Seventeenth Affirmative Defense

         306. Plaintiffs’ claims are barred in whole or in part by the applicable statute

   of limitations.

                             Eighteenth Affirmative Defense

         307. Plaintiffs are not entitled to injunctive relief because any injury to them

   is not immediate or irreparable, Plaintiffs would have an adequate remedy at law,

   the balance of hardships weighs against an injunction, and the public interest is best

   served by not issuing an injunction.

                             Nineteenth Affirmative Defense

         308. Plaintiffs have not suffered and will not suffer harm as a result of

   Rosenberger’s alleged misconduct.

                             Twentieth Affirmative Defense

         309. Plaintiffs’ claims under United States or state law have no

   extraterritorial effect. Plaintiffs are barred from asserting such claims concerning

   conduct outside the United States.




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                             Twenty-First Affirmative Defense

         310. Any decision by a court outside the United States, or agreement entered

   into by the parties outside the United States, should be given deference as a matter

   of comity.

                           Twenty-Second Affirmative Defense

         311. Rosenberger Pennsauken hereby adopts by reference any additional

   applicable defense pleaded by any other defendant and not otherwise pleaded herein,

   as well as any defense available under the statutes relied upon by Plaintiffs.

   Rosenberger Pennsauken intends to rely upon any additional defense that is now or

   may become available or appears during or as a result of the discovery proceedings

   in this action, and expressly reserves its right to amend its answer to assert any such

   defense.

         WHEREFORE, Rosenberger Pennsauken demands judgment in its favor and

   against the Plaintiffs, as follows:

                (a)    For Rosenberger Pennsauken and against Plaintiffs on each and
                       every claim set forth in the Second Amended Complaint;

                (b)    Awarding Rosenberger Pennsauken reasonable attorneys’ fees
                       and costs as well as such other and further relief as the Court
                       may deem just and proper.




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   Dated: September 7, 2021

                                      Respectfully submitted,
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